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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
       Plaintiff-Respondent,                     §
                                                 §
v.                                               §           Cr. No. C-02-310 (1)
                                                 §           C.A. No. C-05-076
MARIA MAGDALENA MALDONADO,                       §
                                                 §
       Defendant-Movant.                         §

                                      FINAL JUDGMENT

       The Court enters final judgment denying defendant Maria Magdalena Maldonado’s motion

to vacate, set aside or correct sentence under 28 U.S.C. § 2255.



       ORDERED this 22nd day of June, 2005.



                                              ____________________________________
                                                         Janis Graham Jack
                                                     United States District Judge
